Case 1:24-cv-00990-DFB Document9 Filed 07/17/24 Page 1 of 46

Statement and Evidence for the U.S. District Court in Case 1:24-cv-00990 and 1:24-cv-0869

The following correspondences happened on August/September 2023, and in July of 2024. The
first page after this statement, is a message was sent to All 100 U.S. Senators, various media
outlets, numerous government offices, United Nations Security Council, NATO, Law Firms
including the ACLU, and many others.

Which is the first page in the attached documentation.

The following along with the first page of correspondences with NSA/US Cyber Command.
Reference some correspondences with US Cyber Command during Ret.Gen. Paul Nakasone
tenure as well as General Timothy Haugh.

Also attached is a similar situation that happened at the Department of Homeland Security,
those papers are attached as well.

These papers of correspondences are for Judges to review, and be seen/submitted as
evidence, to these office having knowledge and awareness of what the purposes of Freedom of
Information Act Request submitted by myself, but also a documentation of who, knew what,
where, when, and how.

Piease make sure all papers are submitted for both cases 1:24-cv-00869, and 1:24-cv-00990,
for Honorable Judges Bloom, and Schwab to review and look over as evidence, and

documentation of events occurred. E | E D
Sincerely, HARRISBURG, PA
Joshua Anihony Jones JUL 17 2024
7/15/2024

PER —~

DEPUTY CLERK
Case 1:24-cv-00990-DFB Document9 Filed 07/17/24 Page 2 of 46

i

“OIA

message

joshua Jones <whiteoak752@gmail.com> Thu, Aug 31, 2023 at 3:12 PN
“9: CYBERCOM_FOIA <CYBERCOM_FOIA@nsa.gov>

Clearly a United States citizen, requesting this information. Attached is proof of citizenship.
Sincerely,
Joshua Anthony Jones

This is going to sound very strange and odd. But | assure you what you are about to read is the truth, also | DO NOT, have any mental
reservations, illnesses or disorders, ner am la conspiracy theorist.

With that being said, for the last decade as far as | know of the CIA (Central Intelligence Agency) and NSA (NationalSecurityAgency),
has socially isolated me, persecuted and oppressed me, by violating my civil liberties, and Constitutional freedoms. As a part ofa
human experimentation. They have used nanotechnology in a sort of MKULTRA fashion, DARPA's (N3 Program) and the (Brain
initiative) to attempt brainwash me. With failure thank God, the intention behind this has to try to weaponize me to commit an act of
domestic terrorism or commit harm. As well as classified information about the United States of America Nuclear Arsenal, being
leaked via nanotechnology and other means. This seems to be politically, and religiously motivated. There have been multiple
yiolations of the UDHR (Universal Declaration of Human Rights.) Especially Article 5, As well as a violation of the Nuremberg Code. FCC
Title 47 compliance of this nanotechnology is unknown. As well as Violations of the Privacy Act. Central Intelligence Agency and the
AWS cloud network systems seem to be in violation of Constitutional freedoms. The Central Intelligence Agency, and the National
Security Agency, have actively blocked me from gaining legal representation.

| would like to file a lawsuit | have filed freedom of information act requests, with the following agencies and Departments, DOJ, U.S.
Secret Service, U.S. Department of Homeland Security, NSA, CIA, DIA, U.S. Cyber Command, DCSA, Office of Secretary and Joint Staff,
anything involving nanotechnology and my name. I have contacted the Whitehouse, The NSA, NCTC, DOJ, FBI, CIA, DIA, The United
Nations, NATO, INTERPOL, The National Security Council, Every member of the Senate that is Republican, Independent and Democrat,
The Joint Chiefs of Staff, as well as the ACLU of Harrisburg, PA, The ACLU of Philadelphia, and the ACLU CEO Mr. Romero. | thank you
for your time and considerations.

Sincerely,

Joshua Anthony Jones

PS.

| have been unable to find legal representation for months.

God bless the coalition of the free

God Bless America

God Sless the UNITED STATES

Long live the Constitution of the United States of America
And God Speed to you Sir's and Madem's.

This is a more serious problem than, on could possibly believe, and this is actively happening

{Quoted test hidden]
Case 1:24-cv-00990-DFB Document9 Filed 07/17/24 Page 3 of 46

“i

‘OIA

message

loshua Jones <whiteoak752@gmail.com> Thu, Aug 31, 2023 at 3:07 PV

“o: CYBERCOM_FOIA <CYBERCOM_FOIA@nsa.gov>
So how is none of this information none applicable? As all of these things are actively happening, and active programs that | am in.

Sincerely,

Joshua Anthony Jones
[Quoted teat hidden}
Case 1:24-cv-00990-DFB Document9 Filed 07/17/24 Page 4 of 46

DEPARTMENT OF DEFENSE

UNITED STATES CYBER COMMAND
9800 SAVAGE ROAD, SUITE 6171
FORT GEORGE G. MEADE, MARYLAND 20755

alk 3 1 2023

Joshua Anthony Jones
whiteoak752@gmail.com Re: 23-R050

Dear Mr. Jones,

This letter responds to the enclosed Freedom of Information Act (FOIA) request, submitted to
U.S. Cyber Command on August 28, 2023.

The FOIA requires that a requester provide a reasonable description of specific records sought,
to enable the DoD Component to locate ihe records with a reasonable amount of effort. Your
request does not contain sufficient information to permit an organized, non-random search. We
are therefore unable to process your request as submitted,

If you wish to submit a Privacy Act request, the request should be sent to the address listed in the
record access procedures of the system of records notice (SORN) containing the record. You
may review current DoD Component SORNs at https://dpeld.defense.gov/privacy/sorns. Please
see 32 CFR §310.3 for additional procedural information.

If you are not satisfied with our action on this request, you may seek dispute resolution services
from the DoD FOIA Public Liaison or the Office of Government Information Services. You also
have the right to file an administrative appeal. Information about these services is provided.

Carmen A. Colbite

Carmen A. Collins, MLIS
FOIA Program Manager

Enclosures:
As stated
Case 1:24-cv-00990-DFB Document9 Filed 07/17/24 Page 5 of 46

DoD FOIA Public Liaison:

Ms. Toni Fuentes
Phone: (571) 371-0462
Email: osd.foia-liaison@mail.mil

Office of Government information
Services:

Office of Government Information Services
National Archives and Records
Administration

8601 Adeiphi Road —OGIS

College Patk, MD 20740-6001

Email: ogis@nara.gov

Phone: (202) 741-5770

Toll Free: 1-877-684-6448

Fax: (202) 741-5769

AUG 3 1 2023

Re: 23-R050

Administrative Appeal:

Ms. Joo Chung

Assistant to the Secretary of Defense for
Privacy, Civil Liberties, and Transparency
(PCLT)

Office of the Secretary of Defense

4800 Mark Center Drive

ATTN: PCLED, FOIA Appeals

Mailbox #24

Alexandria, VA 22350-1700

Email: osd.foia-appeal@mail.mil

* Appeal should cite case number above, be
clearly marked “FOIA Appeal” and filed
within 90 calendar days from the date of this
letter.
Case 1:24-cv-00990-DFB Document9 Filed 07/17/24 Page 6 of 46

23-R050
From: Joshua Jones ewhiteoak752@gmail.com>
Sent: - Monday, August 28, 2023 6:05 PM
To: CYBERCOM_FOIA
Subject: {Non-DoD Source] FOIA

T would like to file a Freedom of Information Act Requests, regarding myself,
Joshua Anthony Jones, Social Security RRR DO BHADODEOTEERGS well as "nanotechnology", "N3

Program”, "Section 702" and “watchlist".

Thank you for your assistance, regarding this matter.

Sincerely,
Joshua Anthony Jones
Case 1:24-cv-00990-DFB Document9 Filed 07/17/24 Page 7 of 46

wv;

“OIA

message
“YBERCOM_FOIA <CYBERCOM_FOIA@nsa.gov> Thu, Aug 31, 2023 at 2:59 PN
fo: whiteoak752@gmail.com ewhiteoak752@gmail.com>

Hello Mr. Jones,
Thank you for your request. Attached please find final response letter signed by FOIA Program Manager, U.S. Cyber Command.

Contact us anytime if you have questions or concerns regarding the processing of your request. You may also visit our website at
1! ats “> for additional information regarding submitting FOIA or Privacy Act
requests to the Command.

vir
USCYBERCOM FOIA

(301) 688-3585

From: Joshua Jones <Whitco! >
Sent: Monday, August 28, 2023 6:05 PM

To: CYBERCOM_FOIA < >
Subject: [Non-DoD Source] FOIA

| would like to file a Freedom of Information Act Requests, regarding myself,

Joshua Anthony Jones, Social Security# XXX-XX-KXXX, DOB# XX/XX/XXXX, as well as "nanotechnology", "N3 Program’, "Section 702"
and “watchlist”.

Quoted text hidden}
Case 1:24-cv-00990-DFB Document9 Filed 07/17/24 Page 8 of 46

Vi

-OIA

| message

Joshua Jones <whiteoak7 52@gmail.com> Mon, Aug 28, 2023 at 6:05 Plv
fo: cybercom_foia@eybercom.mil

1 would like to file a Freedom of Information Act Requests, regarding myself,
Joshua Anthony Jones, Social Security# XXX-XX-XXXX, DOB# 07/01/1985, as well as “nanotechnology”, "N3 Program’, "Section 702"
and “watchiist’.

Thank you for your assistance, regarding this matter.

Sincerely,
Joshua Anthony Jones
Case 1:24-cv-00990-DFB Document9 Filed 07/17/24 Page 9 of 46

i

E: [Non-DoD Source] New FOIA request received for U.S. Cyber Command

message

YBERCOM_FOIA <CYBERCOM_FOlA@nsa.gov>

ot whiteoak? 52@gmail.com ewhiteoak752z@gmail.com>

Hello Mr. Jones,

Thank you for your request. Attached is our response letter signed by FOIA Program Manager, U.S. Cyber Command.

Please note that U.S. Cyber Command has three main focus areas: Defending the Department cf Defense information netwark, providing support to combatant commanders for execution of their missions around the world, ai
You may consider submitting your request te other Department of Defense components that have 3 nexus to the topics about which you are inquiring.

Have a great day.

vit

USCYBERCOM FOIA

(201) 688-3585

From: < >

Sent: Thursday, August 31, 2023 3:20 PM

To: CYBERCOM_FOIA < >

Subject: [Non-DoD Source] New FOIA request received for U.S. Cyber Command

Hella,
Anew FOIA request was submitted ta your agency component:

The following list contains the entire submission submitted August 31, 2023 03:20:02pm ET, and is formatted for ease of viewing and printing.

Contact information
First name Joshua
Last name Jones
Mailing Address 17 Pleasant St.
City New Oxford
State/Province PA
Postal Code 17358
Country United States
Phone 6672989531
Email
Request

Request ID 836746

Confirmation

ib 836166
Case 1:24-cv-00990-DFB Document9 Filed 07/17/24

Anthony Jones

Supporting documentation

Fees

Request
category

other

Fee waiver a0

My Constitutional freedoms have been violated. Because | am a aubject if
Explanation = human experimentatian that did nol consent to it, within the United States of
Arnerica.

Expedited processing

Expedited Processing no

The following table contains the entire submission, and is formatted for ease of copy/pasting info a spreadsheet.

request_id confirmation_id address_scity address_country address_tine1 address_state_province address_zip_pastal_code email

636746 896166 New Oxford United States 17 Pleasant St. PA 17350

Page 10 of 46

expedited_processing fee_waiver fee_waiver_explanatio:

na

no

My Constitutional
freedoms have been
violated. Because! ami
subject if human
experimentation that dil
not cansent to it, within
the United States of
America.
Case 1:24-cv-00990-DFB Document9 Filed 07/17/24 Page 11 of 46

“i

2E: [Non-DoD Source] New FOIA request received for U.S. Cyber Command

| message

Joshua Jones <whiteoak752@gmail.com> Thu, Jui 11, 2024 at 4:20 PN

fo: OGIS <ogis@nara.gov>
lam appealing and requesting mediation.

Sincerely,
Joshua Anthony Jones

[Guoted text ridden]
Case 1:24-cv-00990-DFB Document9 Filed 07/17/24 Page 12 of 46

“i

RE: [Non-DoD Source] New FOIA request received for U.S. Cyber Command

| message

Joshua Jones <whiteoak752@gmail.com> Thu, Jul 11, 2024 at 4:19 PV
fo: OGIS <ogis@nara.gov>

This was sent to Cyber Command today July 11th 2024:

| Joshua Anthony Jones am appealing FOIA Case 118896, also request mediation. On the following grounds,
The reason why Department of Defense Nationa! Security Agency, would or may have records on me would be as follows:

1.) Federal Lawsuits invalving the Joint Chiefs of Staff, Secretary of Defense, National Security Agency, and Central intelligence
Agency.
Federal Case Number: 1:24-cv-00990

2.) DARPA'S Brain nitiative/N3 Program involving neural nanotechnolagy
Federal Case Number: 1:24-cv-00990, and 4:24-cv-00869

3.) 1 year of communications to NATO, United Nations Security Council, and the Joint Chiefs of Staff, involving nerual nanotechnology,
as well as Nuclear Arsenal information being compromised.

There are lawsuits pursuant to this Freedom of Information Act Request, 1:24-cv-00990, 1:24-cv-00827, 1:24-cv-00827, at US District
Court, Harrisburg. As have been stated:

‘This office is responsible for processing all FOIA requests for access to records maintained by the Department of Defense, National
Security Agency. The DoD National Security Agency an independent and objective agency within DoD, responsible for promoting the
integrity, accountability, and improvement of DoD personnel, programs, and operations. We accomplish our mission by conducting

audits, investigations, inspections and assessments, and recommending policies and procedures to promote the economic, efficient,
and effective use of DoD resources and programs that prevent fraud, waste, abuse, and mismanagement.’

It is integral to the adherence of law, and Federal regulations, and investigations. Chevron Deference does not apply to your denial. Fee
waiver is as follows:

Under the Freedom of Information Act (5U.S.C. Section 552), | am requesting the following documents:

Please apply this to any legal documents pertaining to a Freedom of Information Act Request, by myself, for the appeal process.

Attach any other dacuments to be requested FOIA 7/8/2024 | receive the information, pertaining to these requests in paper, flash drive
or hard drive.

Please take note of the Office of Management and Budget guidelines published March 27, 1987 (52 FR 10012) that include electronic
publications and other nontraditional publishers as representatives of the news media. Please also remember that the U.S. Court of
Appeals for the District of Columbia has determined that even a nonprofit clearinghouse of information can qualify as a representative
of the news media, See National Security Archive v. U.S. Department of Defense, 279 U.S. App. D.C. 308 (D.C. 1 989).

Alcan nate that GIFEC Sertinn §52(a(4\(Ayivi(l) requires that you provide the first 100 copies to me at no charge.
Case 1:24-cv-00990-DFB Document9 Fil

OCI17,
However, | am requesting a waiver of all fees under 5 U.S.C. Section FeO ANUAIUD tie formation f seeks AGhe public interest
because it will contribute significanily to public understanding of the operations or activities of the government and is not primarily in
my commercial interest.

| believe | meet the criteria for a fee waiver recognized by the U.S. Justice Department — in its policy guidance of April 1987 ~ and by
the federal courts, See Project on Military Procurement v. Department of the Navy, 710 F. Supp. 362 363, 365 (D.C.D. 1989).

My request concerns the operations or activities of government because E [Per the Justice Department guidelines, be as specific as
possible about why your request concerns a government activity as opposed to a mere interest on your part in the subject matterJAlso,
the information sought has informative value, or potential for contribution to public understanding. Please note the decision in
Elizabeth Eudey v. Central intelligence Agency, 478 F. Supp. 1175 1176 (D.C.D. 1979) (even a single document has the potential for
contributing to public understanding). | plan to disseminate this information to the public at large in the following manner: | am a
taxpaying, voting, United States Citizen, who swore an Oath of Allegiance to the Constitution of the United States of America, and iam
being human experimentated, without my consent by my own government. will us this information in a court of law in the United States
of America, to provide informed legal rights that have been violated and to uphold the law. Also to inform the court of any malfeasance
of any governing body, department (s), agency or agencies, office or offices, persons, personnel, officers, agents, employees, of
aforementioned representatives to these governing bodies. To provide a strong healthier democracy, as well as a more informed work
place for the above mentioned governing bodies or appointed individuals. This information will also be given to VOX Media INC., at
1201 Connecticut Ave., NW., Washington, DC 20036, help with providing with a better informed public, to assist with upholding the law,
to, of, and for and nefarious actors against the law.As legal right in Privacy Act, to release any FOIA information to any “persan'(s)
addition, the release of this information will have a significant impact on public understanding because E [Detail here where you think
there is a lack of knowledge on the part of the public and how this information will make the public better informed about this
particular government activity.]

In your deliberations, please take note of the fallowing cases: Campbell v. U.S. Department of Justice, 934.U.S. App. D.C. (1998)
(administrative and seemingly repetitious information is not exempt from fee-waiver consideration); Praject on Military Procurement
(agencies cannot reject a fee waiver based on the assumption that the information sought is covered by a FOIA exemption; and
Landmark Legal Foundation v. Internal Revenue Service, 4998 U.S. Dist. LEXIS 21722 (D.C.D. 1998){the fact that the information will
soon be turned over to a public body does not exempt the material from fee-waiver consideration).

i look forward to your response within the 20 working days, as outlined by the statute.

Continuing to requests pursuant to PA exemptions (J)(1) and (K)(1), this is a violation of the Patriot Act as there ig no knowledge of
any Judges orders for such records or surveillance to be had. Aiso a violation of Executive Order 12333, in which records should be
made available to the public as well as records of Judges orders be made public Regarding surveillance of US citizens. So in such
there should be no classified information pertaining to a relationship regarding myself, Joshua Anthony Jones contractual or otherwise
stated, with any Agency, Department, Or entity. Any records deemed classified are false pretenses and should be made available as for
litigation. This is in violation of Executive Order 13526, in regards to section 1.7 (A)(1)- 15 U.S. Code § 780 - Office of Private
Grievances and Redress, 5 U.S. Code § 552(a), 5 U.S. Code § 552(e), 5 U.S. Code § 552(f), 5 U.S. Code § 553,

Executive Order 14105 Section 9, Executive Order 13873, Executive Order 14110 Section 1 (a), Section 2 (D), Section 2(f), Executive
Order 14093 Section 1, 5 U.S.C. 3331, 5U.8.C 3331, 10 U.S.C. 980, and 5 U.S.C. 7311.

As well as Constitutional Law, Federal Law, and Geneva Convention Violations Articles of War crimes.

Show quoted text

Show quoted text
You have reached a limit for sending mail. Your message was not sent.

Show quoted text

[Quoted text hidden]
Case 1:24-cv-00990-DFB Document9 Filed 07/17/24 Page 14 of 46

“i

2E: [Non-DoD Source] New FOIA request received for U.S. Cyber Command

message

Joshua Jones <whiteoak752@gmail.com> Thu, Jul 11, 2024 at 4:05 PN
fo: CYBERCOM_FOIA <CYBERCOM_FO!A@nsa.gov>

These correspondences will be submitted as evidence, in Federal Court. Please note | am emailing Cyber Command directly, and for
some mysterious reason, which | highly doubt are hackers using Google. So NSA Cyber Command isn't using computer Algorithms or
logarithms to layer amd conceal violations of law? By Oaih of Office you have to comply or seek an atiomey.

Sincerely,
Joshua Anthony Jones
J

On Thu, Jul 11, 2024, 3:32 PM CYBERCOM_FOIA < i gove wrote:
{Quoted text hidden]
Case 1:24-cv-
e 1:24-cv-00990-DFB Document9 Filed 07/17/24 Page 15 of 46

“ji

(E: [Non-DoD Source] New FOIA request received for U.S. Cyber Command

message

loshua Jones ewhiteoak752@gmail.com> Thu, Jul 11, 2024 at 4:01 PN
‘o: CYBERCOM_FOIA <CYBERCOM_FOIA@nsa.gov>

Mail Google Mailbox has plenty of room in it. For storage of correspondences and emails. Are you using Google to shield your crimes?
That's breach of contract.

Sincerely,
Joshua Anthony Jones

On Thu, Jul 11, 2024, 4:32 PM CYBERCOM_FOIA < a > wrote:
[Quoted text nidden]
Case 1:24-cv-00990-DFB Document9 Filed 07/17/24 Page 16 of 46

2E: [Non-DoD Source] New FOIA request received for U.S. Cyber Command

message
Thu, Jul 11, 2024 at 4:00 PN

joshua Jones <whiteoak752@gmail.com>
To: Mail Delivery Subsystem <mailer-caemon@googlemail.com>

Mail Google Mailbox has plenty of room in it. For storage of correspondences and emails.

Sincerely,
Joshua Anthony Jones

jQuoted te) i mddenj
Case 1:24-cv-00990-DFB Document9 Filed 07/17/24 Page 17 of 46

i

2E: [Non-DoD Source] New FOIA request received for U.S. Cyber Command

message

loshua Jones <whiteoak752@gmail.com> Thu, Jui 11, 2024 at 3:58 Plv
fo: CYBERCOM_FOtA <CYBERCOM_FOIA@nsa.gov>

Conspiracy is a Federal crime, it appears that you are trying to defraud the United States.

Sincerely,
Joshua Anthony Jones

On Thu, Jul 11, 2024, 3:32 PM CYBERCOM_FOIA <' > wrote:
{Queted text hidden}
Case 1:24-cv-00990-DFB Document9 Filed 07/17/24 Page 18 of 46

“4

2E: [Non-DoD Source] New FOIA request received for U.S. Cyber Command

message
Thu, Jul 11, 2024 at 3:53 Pl

m emailer-daemon@googlemail.com>

Viail Delivery Subsyste
mail.com>

To: Joshua Jones <whiteoak752@g

You have reached a limit for sending mail. Your message was not sefit.

(Quoted text hidden]
Case 1:24-cv-00990-DFB Document9 Filed 07/17/24 Page 19 of 46

“i

tE: [Non-DoD Source] New FOIA request received for U.S. Cyber Command

message

loshua Jones <whiteoak752@gmail.com>
‘o: CYBERCOM_FOIA <CYBERCOM_FOIA@nsa.gov>

+ Joshua Anthony Jones am appealing FOIA Case 118896,
also request mediation. On the following grounds,

The reason why Department of Defense National Security
Agency, would or may have records on me would be as
fotiows:

1.) Federal Lawsuits involving the Joint Chiefs of Staff,
Secretary of Defense, National Security Agency, and Central
intelligence Agency.

Federal Case Number: 1:24-cv-00990

2.) DBARPA'S Brain Initiative/N3 Program involving neural
nanotechnology
Federal Case Number: 1:24-cv-00990, and 1:24-cv-00869

3.) 1 year of communications to NATO, United Nations
Security Council, and the Joint Chiefs of Staff, invalving nerual
nanotechnology, as weil as Nuclear Arsenal Information being
compromised.

There are lawsuits pursuant to this Freedom of Information
Act Request, 1:24-cv-00990, 4:24-cy-00827, 1:24-cv-0082/7, at
US District Court, Harrisburg. As have been stated:

"This office is responsible for processing all FOIA requests for
access to records maintained by the Department of Defense,
National Security Agency. The DoD National Security Agency
an independent and objective agency within DoD, responsible
for prornoting the integrity, accountability, and improvement
of DoD personnel, programs, and operations. We accomplish
our mission by conducting audits, investigations, inspections
and assessments, and recommending policies and
procedures to promote the economic, efficient, and effective
use of DoD resources and programs that prevent fraud, waste,
abuse, and mismanagement.”

It is integral to the adherence of law, and Federal regulations,
and investigations. Chevron Deference does not apply to your
denial. Fee waiver is as follows:

Thu, Jul 11, 2024 at 3:54 Pl
Case 1:24-cv-00990-DFB Document9 Filed 07/17/24

Please apply this to any legal documents pertaining to a
Freedom of information Act Request, by myself, for the appeal
process.

Attach any other documents to be requested FOIA’ 7/8/2024 |
receive the information, pertaining to these requests in paper,
flash drive, or hard drive.

Please take note of the Office of Management and Budget
guidelines published March 27, 1987 (52 FR 10012) that
include electronic publications and other nontraditional
publishers as representatives of the news media. Please also
remember that the U.S. Court of Appeals for the District of
Columbia has determined that even 4 nonprofit clearinghouse
of information can qualify as a representative of the news
media, See National Security Archive v, U.S. Department of
Defense, 279 U.S. App. D.C. 308 (D.C, 1989).

Please note that 5 U.S.C. Section 552(a)(4)(A)(iv) (Il) requires
that you provide the first 100 copies to me at no charge.

However, | am requesting a waiver of all fees under 5 U.S.C.
Section 552(a)(4)(A) (ii). The information | seek is in the
public interest because it will contribute significantly to public
understanding of the operations or activities of the
government and is not primarily in my commercial interest.

| believe | meet the criteria for a fee waiver recognized by the
U.S. Justice Department — in its policy guidance of April 1987
~ and by the federal courts, See Project on Military
Procurement v. Department of the Navy, 710 F. Supp. 362 363,
365 (D.C.D. 1989).

My request concerns the operations or activities of
government because E [Per the Justice Department
guidelines, be as specific as possible about why your request
concerns a government activity as opposed to a mere interest
on your part in the subject matter. JAlso, the information
sought has informative value, or potential for contribution to
public understanding. Please note the decision in Flizabeth
Eudey v. Central Intelligence Agency, 478 F. Supp. 1175 1 176
(D.C.D. 1979) (even a single document has the potential for
contributing to public understanding). | plan to disseminate
this information to the public at large in the following manner:
} am a taxpaying, voting, United States Citizen, who swore an
Oath of Allegiance to the Constitution of the United States of
America, and | am being human experimentated, without my

eee tle I

Page 20 of 46
Case 1:24-cv-00990-DFB Document9 Filed 07/17/24

governing body, department (s), agency or agencies, office or
offices, persons, personnel, officers, agents, employees, of
aforementioned representatives to these governing bodies. To
provide a strong healthier democracy, as well as a more
informed work place for the above mentioned governing
bodies or appointed individuals. This information will also be
given to VOX Media ING., at 1201 Connecticut Ave., NW.,
Washington, DC 20036, help with providing with a better
informed public, to assist with upholding the law, to, of, and
for and nefarious actors against the law.As jegal right in
Privacy Act, to release any FOIA information to any “person”
{s) addition, the release of this information will have a
significant impact on public understanding because E [Detail
here where you think there is a lack of knowledge on the part
of the public and how this information will make the public
better informed about this particular government activity.

in your deliberations, please take note of the following cases:
Campbell v. U.S. Department of Justice, 334 U.S. App. D.C.
(1998)(administrative and seemingly repetitious information
ig not exempt from fee-waiver consideration); Project on
Military Procurement (agencies cannot reject a fee waiver
based on the assumption that the information sought is
covered by a FOIA exemption, and Landmark Legal
Foundation v. Internal Revenue Service, 1998 U.S. Dist. LEXIS
21722 (D.C.D, 1998)(the fact that the information will soon be
turned over to a public body does not exempt the material
from fee-waiver consideration).

i look forward to your response within the 20 working days, as
outlined by the statute.

Continuing to requests pursuamt to PA exemptions (J)(1) and
(K)(1), this is a violation of the Patriot Act as there is no
knowtedge of any Judges orders for such records or
surveillance to be had. Aiso a violation of Executive Order
12333, in which records should be made available to the
public as well as records of Judges orders be made public
Regarding surveillance of US citizens. So in such there should
be no classified information pertaining to a relationship
regarding myself, Joshua Anthony Jones contractual or
otherwise stated, with any Agency, Department, Or entity. Any
records deemed classified are false pretenses and shauld be
made available as for litigation. This is in violation of
Executive Order 13526, in regards to section 1.7 (A)(1). 15
U.S. Code § 780 - Office of Private Grievances and Redress, 5
U.S. Code § 552(a), 5 U.S. Code § 552(e), 5 U.S. Code §
552(f), 5 U.S. Code § 553,

Executive Order 14105 Section 9, Executive Order 13873,
Executive Order 14110 Section 1 (a), Section 2 (D), Section
2(f), Executive Order 14093 Section 1,5U.S.C. 3331, 5US.C
3331, 10 U.S.C. 980, and 5 U.S.C. 7317.

As well as Constitutional Law, Federal Law, and Geneva
Convention Violations Articles of War crimes.

Page 21 of 46
Case 1:24-cv-00990-DFB Document9 Filed 07/17/24 Page 22 of 46

: te:
On Thu, Jul 11, 2024, 3:32 PM CYBERCOM_FOIA <: i > wrote

{Quoted text hiddenj
Case 1:24-cv-00990-DFB Document9 Filed 07/17/24 Page 23 of 46

“

2E: [Non-DoD Source] New FOIA request received for U.S. Cyber Command

message

Joshua Jones <whiteoak752@gmail.com> Thu, Jul 11, 2024 at 3:53 Pl
lo: Mail Delivery Subsystem <mailer-daemon@googlemail.com>

| Joshua Anthony Jones am appealing FOIA Case 118896,
also request mediation. On the following grounds,

The reason why Department of Defense National Security
Agency, would or may have records on me would be as
follows:

1.) Federal Lawsuits involving the Joint Chiefs of Staff,
Secretary of Defense, National Security Agency, and Central
Intelligence Agency.

Federal Case Number: 1:24-cv-00990

2.) DARPA'S Brain initiative/N3 Program involving neural
nanotechnology
Federal Case Number: 1:24-cv-00990, and 1:24-cv-00869

3.) 1 year of communications to NATO, United Nations
Security Council, and the Joint Chiefs of Staff, involving nerual
nanotechnology, as well as Nuclear Arsenal Information being
compromised.

There are lawsuits pursuant to this Freedom of Information
Act Request, 1:24-cv-00990, 4:24-cv-00827, 1:24-cv-00827, at
US District Court, Harrisburg. As have been stated:

"This office is responsible for processing ail FOIA requests for
access to records maintained by the Department of Defense,
National Security Agency. The DoD National Security Agency
an independent and objective agency within DoD, responsible
for promoting the integrity, accountability, and improvement
of DoD personnel, programs, and operations. We accomplish
our mission by conducting audits, investigations, inspections
and assessments, and recommending policies and
procedures to promote the economic, efficient, and effective
use of DoD resources and programs that prevent fraud, waste,
abuse, and mismanagement.”

it is integral to the adherence of law, and Federal regulations,
and investigations. Chevron Deference does not apply to your
denial. Fee waiver is as follows:

_- = o- rent
Case 1:24-cv-00990-DFB Document9 Filed 07/17/24 Page 24 of 46

Please apply this to any legal documents pertaining to a
Freedom of Information Act Request, by myself, for the appeal
process.

Attach any other documents to be requested FOIA’ 7/8/2024 I
receive the information, pertaining to these requests in paper,
flash drive, or hard drive.

Please take note of the Office of Management and Budget
guidelines published March 27, 1987 (52 FR 10012) that
include electronic publications and other nontraditional
publishers as representatives of the news media. Please also
remember that the U.S. Court of Appeals for the District of
Columbia has determined that even a nonprofit clearinghouse
of information can qualify as a representative of the news
media, See National Security Archive v. U.S. Department of
Defense, 279 U.S. App. D.C. 308 (D.C. 1989}.

Please note that 5 U.S.C. Section 552(a)(4)(A)(iv) (Il) requires
that you provide the first 100 copies to me at no charge.

However, | am requesting a waiver of all fees under 5 U.S.C.
Section 552(a)(4)(A) (iii). The information { seek is in the
public interest because it will contribute significantly to public
understanding of the operations or activities of the
government and is not primarily in my commercial interest.

| believe | meet the criteria for a fee waiver recognized by the
U.S. Justice Department — in its policy guidance of April 1987
- and by the federal courts, See Project on Military
Procurement v. Department of the Navy, 710 F. Supp. 362 363,
365 (D.C.D. 1989).

My request concerns the operations or activities of
government because E {Per the Justice Department
guidelines, be as specific as possible about why your request
concerns a government activity as opposed to a mere interest
on your part in the subject matter.JAlso, the information
sought has informative value, or potential for contribution to
public understanding. Please note the decision in Elizabeth
Eudey v. Central Intelligence Agency, 478 F. Supp. 1175 1176
(D.C.D. 1979) (even a single document has the potential for
contributing to public understanding). | plan to disseminate
this Information to the public at large in the following manner:
lam a taxpaying, voting, United States Citizen, who swore an
Oath of Allegiance to the Constitution of the United States of
America, and | am being human experimentated, without my

abt. tude atian inn
Case 1:24-cv-00990-DFB Document9 Filed 07/17/24

governing body, department (s), agency or agencies, office or
offices, persons, personnel, officers, agents, employees, of
aforementioned representatives to these governing bodies. To
provide a strong healthier democracy, as well as a more
informed work place for the above mentioned governing
bodies or appointed individuals. This information will also be
given to VOX Media INC., at 4201 Connecticut Ave., NW.,
Washington, DC 20036, help with providing with a better
informed public, to assist with upholding the law, to, of, and
for and nefarious actors against the law.As lega! right in
Privacy Act, to release any FOIA information to any “person’
(s) addition, the release of this information will have a
significant impact on public understanding because E [Detail
here where you think there is a lack of knowledge on the part
of the public and how this information will make the public
better informed about this particular government activity]

in your deliberations, please take note of the following cases:
Campbell v. U.S. Department of Justice, 334 U.S. App. D.C.
(1998)(administrative and seemingly repetitious information
is not exempt from fee-waiver consideration); Project on
Military Procurement (agencies cannot reject a fee waiver
based on the assumption that the information sought is
covered by a FO!A exemption; and Landmark Legal
Foundation v. internal Revenue Service, 1998 U.S. Dist. LEXIS
21722 (D.C.D. 1998)(the fact that the information will soon be
turned over to a public body does not exempt the material
from fee-waiver consideration).

i look forward to your response within the 20 working days, as
outlined by the statute.

Continuing to requests pursuant to PA exemptions (J)(1) and
(K)(1), this is a violation of the Patriot Act as there is no
knowledge of any Judges orders for such records or
surveillance to be had. Also a violation of Executive Order
42333, in which records should be made available to the
public as well as records of Judges orders be made public
Regarding surveillance of US citizens. So in such there should
be no classified information pertaining to a relationship
regarding myself, Joshua Anthony Jones contractual or
otherwise stated, with any Agency, Department, Or entity. Any
records deemed classified are false pretenses and should be
made available as for litigation. This is in violation of
Executive Order 13526, in regards to section 1.7 (A)(1). 15
U.S. Code § 780 - Office of Private Grievances and Redress, 5
U.S. Code § 552{a), 5 U.S. Code § 552(e), 5 U.S. Code §
552(f}, 5 U.S. Code § 553,

Executive Order 14105 Section 9, Executive Order 13873,
Executive Order 14110 Section 1 (a), Section 2 (D), Section
2(f), Executive Order 14093 Section 1,5 U.S.C. 3331, 5 U.S.C
3331, 10 U.S.C. 980, and 5 U.S.C. 7311.

As well as Constitutional Law, Federal Law, and Geneva
Convention Violations Articles of War crimes.

Page 25 of 46
Case 1:24-cv-00990-DFB Document9 Filed 07/17/24 Page 26 of 46

ji

¢E: [Non-DoD Source] New FOIA request received for U.S. Cyber Command

message

joshua Jones <whiteoak752@gmail.com> Thu, Jul 11, 2024 at 3:36 PN
fo: CYBERCOM_FOTA <CYBERCOM_FOiA@nsa.gov>

This was sent to Cyber Command during Paul Nakasone's tenure, lalso have an email subject directed to Paul Nakasone. | find it hard
to believe you have no information. Email is as follows:

Clearly a United States citizen, requesting this information. Attached is proof of citizenship.
Sincerely,
Joshua Anthony Jones

This is going to sound very strange and odd. But! assure you what you are about to read is the truth, also | DO NOT, have any mental
reservations, illnesses or disorders, nor am 1 a conspiracy theorist.

With that being said, for the last decade as far as | know of the CIA (Central intelligence Agency) and NSA (NationalSecurityAgency),
has socially isolated me, persecuted and oppressed me, by violating my civil liberties, and Constitutional freedoms. As a part ofa
human experimentation. They have used nanotechnology in a sort of MKULTRA fashion, DARPA‘s (N3 Program) and the (Brain
initiative} to attempt brainwash me. With failure thank God, the intention behind this has to try to weaponize me to commit an act of
domestic terrorism or commit harm. As well as classified information about the United States of America Nuclear Arsenai, being
leaked via nanotechnology and other means. This seems to be politically, and religiously motivated. There have been muttiple
violations of the UDHR (Universal Declaration of Human Rights.) Especially Article 5, As well as a violation of the Nuremberg Code. FCC
Title 47 compliance of this nanotechnology is unknown. As well as Violations of the Privacy Act. Central Intelligence Agency and the
AWS cloud network systems seem to be in violation of Constitutional freedoms. The Central Intelligence Agency, and the National
Security Agency, have actively blocked me from gaining legal representation.

| would like to file a lawsuit | have filed freedom of information act requests, with the following agencies and Departmenis, DOU, U.S.
Secret Service, U.S. Department of Homeland Security, NSA, CIA, DIA, U.S. Cyber Command, DCSA, Office of Secretary and Joint Staff,
anything involving nanotechnology and my name. | have contacted the Whitehouse, The NSA, NCTC, DOJ, FBI, CIA, DIA, The United
Nations, NATO, INTERPOL, The National Security Council, Every member of the Senate that is Republican, independent and Democrat,
The Joint Chiefs of Staff, as well as the ACLU of Harrisburg, PA, The ACLU of Philadelphia, and the ACLU CEO Mr. Romero. | thank you
for your time and considerations.

Sincerely,

Joshua Anthony Jones

BS.

t have been unable to find legal representation for months.

God bless the coalition of the free

God Bless America

God Bless the UNITED STATES

Long live the Constitution of the United States of America
And God Speed to you Sir's and Madem’s.

This is a more serious prablem than, on could possibly believe, and this is actively happening

Show quoted text

[Quoied text hidden]
Case 1:24-cv-
24-cv-00990-DFB Document9 Filed 07/17/24 Page 27 of 46

DEPARTMENT OF DEFENSE

UNITED STATES CYBER COMMAND
9800 SAVAGE ROAD, SUITE 6171
FORT GEORGE G. MEADE, MARYLAND 20785

SEP 0.7 2023

Joshua Jones
17 Pleasant St
New Oxford, PA 17356 Re: 23-R051

Dear Mr. Jones,

This letter responds to the enclosed Freedom of Information Act (FOIA) request, submitted
August 31, 2023. We reasonably believe that U.S. Cyber Command would not have records in
its files that are responsive to this request. Therefore, a search was fot conducted.

If you are not satisfied with our action on this request, you may seek dispute resolution services
from the DoD FOIA Public Liaison or the Office of Government Information Services. You also
have the right to file an administrative appeal. Contact information for each resource is
provided.

Carmen 4A. Coble

Carmen A. Collins, MLIS
FOLA Program Manager

Enclosures:
As stated
Case 1:24-cv-
e 1:24-cv-00990-DFB Document9 Filed 07/17/24 Page 28 of 46

DoD FOIA Public Liaison:

Ms. Toni Fuentes
Phone: (571) 371-0462
Email: osd.foia-liaison@mail.mil

Office of Government Information
Services:

Office of Government Information Services
National Archives and Records
Administration

8601 Adelphi Road — OGIS

College Park, MD 20740-6001

Emai!: ogis@nara.gov

Phone: (202) 741-5770

Toll Free: 1-877-684-6448

Fax: (202) 741-5769

SEP Q 7 2023

Re: 23-R051

Administrative Appeal:

Ms. Joo Chung

Assistant to the Secretary of Defense for
Privacy, Civil Liberties, and Transparency
(PCLT)

Office of the Secretary of Defense

4800 Mark Center Drive

ATTN: PCLFD, FOIA Appeais

Mailbox #24

Alexandria, VA 22350-1700

Email: osd.foia-appeal@mail.mil

* Appeal should cite case number above, be
clearly marked “FOIA Appeal” and filed
within 90 calendar days from the date of this
letter.
Case 1:24-cv-00990-DFB Document9 Filed 07/17/24 Page 29 of 46

FOIA Request 836746

The following list contains the entire submission su

for ease of viewing and printing.

23~-RO51

bmitted August 31, 2023 03:20:02pm ET, and is formatted

Contact information

First name Joshua

Last name Jones

Mailing Address 17 Pleasant St.
City New Oxford
State/Province PA

Postal Code 17350
Country United States
Phone 667298953 |
Email whiteoak752@gmail.com
Request

Request ID 836746
Confirmation ID 836166

Request description

I would like to file a Freedom of Information Act
Requests, regarding myself, Joshua Anthony Jones,
Social Security# RECESS as
well as "nanotechnology", "N3 Program", "Section
702" and “watchlist”. T hank you for your assistance,
regarding this matter. Sincerely, Joshua Anthony Jones

Supporting documentation

Fees

Request category ID
Fee waiver

Explanation

other

no

My Constitutionat freedoms have been violated.
Because | am a subject if human experimentation that

did not consent to it, within the United States of
America.

Case 1:24-cv-00990-DFB Document9 Filed 07/17/24 Page 30 of 46

23-RO051

Expedited processing

no
Expedited Processing
Case 1:24-cv-00990-DFB Document9 Filed 07/17/24 Page 31 of 46

™

1: [Non-DoD Source] New FOIA request received for U.S. Cyber Command

message

YBERCOM_FOIA <CYBERCOM_FOIA@nsa.gov>
ot whiteoak752(@gmail.com <whiteoak752@gmali.com>

Hello Mr. Jones,

Thank you far your request. Attached is our responge letter signed by FGIA Program Manager, U.S. Cyber Command.

Please note that U.S. Cyber Command has three main focus areas: D: fending the Dep t of Def information network, providing support to co batant cc ders for tion of their missions around the world, at

You may consider submitting your request (a other Department of Defense components that have a nexus to the topics about which you are inquiring.

Have @ great day.

wit

USCYBERCOM FOIA

(203) 688-3585

Frat: < >

Sent: Thursday, August 31, 2023 3:20 PM

To: CYBERCOM_FOIA < 4 >

Subject: {Non-DoD Source] New FOIA request received for U.S. Cyber Command

Helio,
Anew FOIA request was submitted to your agency component:

The following list contains the entire submission submitted August 31, 2023 03:20:02pm ET. and is formatted for ease af viewing and printing.

Contact information

First name Joshua

Last name Jones
Mailing Address 17 Pleasant St
City New Oxford
State/Province PA

Postal Gode 17350
Country United States
Phone 6672989531
mail

Request

Request ID 836746

Confirmation

in 836166
Case 1:24-cv-00990-DFB Document9 Filed 07/17/24

Anthony Jones
Supporting documentation
Fees
ary ip ote

Fee waiver AG

My Gonatitutional freedoms have been violated, Because tam a subject if
Explanation = human experimentation that did not cansent to it, within the United States at

America.
Expedited processing
Expedited Processing ne
The fallowing table contains the entire sub ission, and is Formatted for ease of copy/pasting into a spreadsheet.
requestid confirmationid address_clty address_country address_linet address, state_province address. zip_postal_code email
836746 636166 New Oxford United States 17 Pleasant St. PA 17350

Page 32 of 46

expedited_processing fee_waiver

na

no

fee_waiver_exptanati

My Constitutional
freedoms have been
violated. Because | ar
subject if human
axperimentation that
nat cansent to it, with
the United States of
America.
Case 1:24-cv-00990-DFB Document9 Filed 07/17/24 Page 33 of 46

“4

General Nakasone
| message

Joshua Jones <whiteoak752@gmail.com> Thu, Sep 7, 2023 at 3:22 PM
fo: CYBERCOM_FOIA@cybercom.mil

General Nakasone,
Please acknowledge, that | know your capabilities, and do appreciate your work.
Nor am | one to opposed to your work.

But | do have to be critical, do to the nature of my situation. As well as the severity, to our national defense, as well as our Nations
Security, which to me is the Constitution of the United States of America. As in,

National Defense is the Constitution of the United States of America, as well as the preservation and security, of its due nature of its
freedoms, in which we all hold dear.

As this is the very essence of what is to be an American, as weil as one who hold, the values of the Constitution near.

| will proceed with my FOIA request, at U.S. Cyber Command. Thank you for your time and considerations.

Sincerely,
Joshua Anthony Jones
Case 1:24-cv-
cv-00990-DFB Document 9 Filed 07/17/24 Page 34 of 46

UNITED STATES CYBER COMMAND
9800 SAVAGE ROAD, a an 4 a
. MEADE,
FORT GEORGE G. ME R mit ah

Re: 24-R102

Joshua Jones
17 Pleasant Street
' New Oxford, PA 17350

Joshua Jones,

This letter responds to the enclosed Freedom of Information Act (FOIA) request,
submitted to U.S. Cyber Command on July 10, 2024.

As previously explained, the FOIA requires that a requester provide a reasonable
description of specific records sought, to enable the Department of Defense (DoD) Component to
locate the records with a reasonable amount of effort. We cannot reasonably asceriain exactly

which records are being requested nor where to locate them based upon the description you have

provided. We are therefore unable to process this request as submitted.

If you are not satisfied with our action on this request, you may seek dispute resolution
services from the DoD FOIA Public Liaison or the Office of Government Information Services.

You also have the right to file an administrative appeal. Contact information for each resource is

enclosed.
. .
Carmen 4A. Colbne
j Carmen A. Collins, MLIS
FOIA Program Manager
i _, yEnclosures:
poe

Case 1:24-cv-
24-cv-00990-DFB Document9 Filed 07/17/24 Page 35 of 46

DoD FOIA Public Liaison:

Ms. Toni Fuentes
Phone: (571) 371-0462
Email: osd.foia-liaison@mail.mil

Office of Government Information
Services:

Office of Government Information Services
National Archives and Records
Administration

8601 Adelphi Road — OGIS

College Park, MD 20740-6001

Email: ogis@nara.gov

Phone: (202) 741-5770

Toll Free: 1-877 -684-6448

Fax: (202) 741-5769

“yi 14
Re: 24-R102

Administrative Appeal:

Ms. Joo Chung

Assistant to the Secretary of Defense for
Privacy, Civil Liberties, and Transparency
(PCLT)

Office of the Secretary of Defense

4800 Mark Center Drive

ATTN: PCLED, FOIA Appeals

Mailbox #24

Alexandria, VA 223 50-1700

Email: osd.foia-appeal@mail mil

* Appeal should cite case number above, be
clearly marked “FOIA Appeal” and filed
within 90 calendar days from the date of this
letter.
Case 1:24-cv-
24-cv-00990-DFB Document9 Filed 07/17/24 Page 36 of 46

FOIA Request 1301936

The following list contains the entire submis

ease of viewing and printing.

2A-R102

sion submitted July 10, 2024 02:35:09am ET, and is formatted for

f_

Contact information
First name J oshua
Last name Jones
Mailing Address 17 Pleasant Street
City New Oxford
State/Province PA
Postal Code 17350
Country United States
Phone. - 6672989531
Email whiteoak752@gmail.com
Request
Request ID . 1301936
Confirmation ID 1301361
1 would like to submit a Freedom of information act
requests, on my own behalf, "J oshua Anthony Jones",
Request description Social Security Number eee: From the dates .

of 1/1/2010 through 7/8/2024. Thank you for your
assistance in this matter. Sincerely, Joshua Anthony
Jones

Supporting documentation

Fees

Request category ID
Fee waiver

other
yes

a a I
Case 1:24-cv-00990-DFB Document9 Filed 07/17/24 Page 37 of 46
24-R102

Under the Freedom of Information Act © USC.
Section 552), I am requesting the following documents:
Please apply this to any legal documents pertaining to a
Freedom of Information Act Request, by myself, for
the appeal process. Attach any other documents to be
requested FOIA’ 7/8/2024 I receive the information,
pertaining to these requests in paper, flash drive, or
hard drive. Please take note of the Office of
Management and Budget guidelines published March
27, 1987 (52 FR 10012) that include electronic
publications and other nontraditional publishers as
representatives of the news media. Please also
remember that the U.S. Court of Appeals for the
District of Columbia has determined that even a
nonprofit clearinghouse of information can qualify as a
representative of the news media, See National
Security Archive v. U.S. Department of Defense, 279
U.S. App. D.C. 308 (D.C. 1989). Please note that 5
U.S.C. Section 552(a)(4)(A)iv) AD requires that you.
provide the first 100 copies to me at no charge.
However, | am requesting a waiver of all fees under 5
U.S.C. Section 552(a)(4)(A)Gii). The information I
seek is in the public interest because it will contribute
significantly to public understanding of the operations
or activities of the government and is not primarily in
my commercial interest. I believe I meet the criteria for
a fee waiver recognized by the U.S. Justice Department
_ in its policy guidance of April 1987 — and by the
federal courts, See Project on Military Procurement Vv.

Department of the Navy, 710 F. Supp. 362 363, 365
(D.C.D. 1989). My request concerns the operations or
activities of government because E [Per the Justice
Department guidelines, be as specific as possible about
why your request concerns a government activity 4s
opposed to a mere interest on your part in the subject

" matter.]Also, ihe information sought has informative
yalue, or potential for contribution to public
understanding. Please note the decision in Elizabeth
Eudey v. Central Intelligence Agency, 478 F. Supp.
1175 1176 (D.C.D. 1979) (even a single document has
the potential for contributing to public understanding).

- [plan to disseminate this information to the public at
Explanation large in the following manner: T am a taxpaying,
voting, United States Citizen, who swore an Oath of
Allegiance to the Constitution of the United States of

-America, and I am being human experiméntated,
without my consent by my own goverament. will us
this information in a court of law in the United States
of America, to provide informed legal rights that have
been violated and to uphold the law. Aiso to inform the
court of any malfeasance of any governing body,
department (s), agency or agencies, office or offices,
persons, personnel, officers, agents, employees, of

PT,

Case 1:24-cv-00990-DFB Document9 Filed 07/17/24 Page 38 of 46

24-R102

Expedited processing
Expedited Processing - no
Additional information

attachments supporting documentation

Case 1:24-cv-00990-DFB Document9 Filed 07/17/24 Page 39 of 46

4

*RCL FOIA Case No. 2024-CRFO-00328

messages

‘RCL FOIA <crclfoia@hq.dhs.gov> Mon, Jul 15, 2024 at 7:16 AN
‘0: whiteoak752@gmail.com <whiteoak752@gmail.com>

07/15/2024

Joshua Jones

17 Pleasant St.

New Oxford, Pennsylvania 17350

Re: 2024-CRFO-00328
Dear Joshua Jones:

This acknowledges receipt of your 7/14/2024, Freedom of Information Act request/Privacy Act
(FOIA/PA) request to the Department of Homeland Security (DHS) Office for Civil Rights and Civil
Liberties (CRCL), seeking, “I would like to submit a Freedom of information act requests, on my own
behalf, "Joshua Anthony Jones", Social Security Number# XXX-XX-XXXX. From the dates of 6/1/2023
through 7/13/2024.”

An individual's request for information pertaining to him/her is processed under both the FOIA and
the PA to afford maximum access to records. Because you have asked for copies of records about
yourself, we must verify your identity to ensure that your personal information is not released to
anyone other than you. The DHS regulations, 6 CFR Part 5 § 5,.21(d), require verification of your
identity, including your full name, current address and date and place of birth. In addition, your
request must be made in writing, must contain your signature, and should either be notarized or
contain a statement made under penalty of perjury as permitted by 28 U.S.C. 1746. Because you have
not provided this documentation, your request is not a proper FOLA/PA request, and we are unable to
initiate searching for responsive records. We've attached a form for your convivence.

Please provide the requested documentation within 10 business days from the date of this letter, or
we will assume you are no longer interested in this FOIA/PA request, and the case will be
administratively closed.

_ This is not a denial of your request. If you have any questions or would like to discuss this matter,
_please feel free to contact this office at (11! hq.dl

Sincerely,
Case 1:24-cv-00990-DFB Document9 Filed 07/17/24 Page 40 of 46

Office for Civil Rights and Civil Liberties
U.S. Department of Homeland Security
Washington, DC 20528

ott ARTA, eb

er. Homeland
“Sy Security

AFFIRMATION/DECLARATION
This is to affirm that
Assad Rutherford

(PRINT FULL NAME)
request access to records maintained by the Office for Civil Rights and Civil Liberties which pertain to me. My present address is:

5832 Columbia Ave.

I,

my date of birth is: 11/06/1991 , and

my place of birth was: Munster, Indiana and

my citizenship status! is_ SOvereign citizen (permanent)

I understand that any knowingly or willfully seeking or obtaining access to records about another person under false pretenses is
punishable by a fine of up to $5,000. I also understand that any applicable fees must be paid by me.

[hereby authorize Assad Rutherford access to my records.
(PRINT FULL NAME)
I request that any located and disclosable records be forwarded to the following individual:
Assad Rutherford at the following address:
(PRINTF FULL NAME)

I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct, and that i
am the person named above, and I understand that any falsification of this statement is punishable under the provisions of 18
U.S.C. Section 1001 by a fine of not more than $10,000 or by imprisonment of not more than five years or both, and that
requesting or obtaining any record(s} under false pretenses is punishable under the provisions of 5 U.S.C. 552a(i)(3) by a fine of
not more than $5,000.

Executed on 1/23/2024 j A
oo ducd f f

(SIGNATURE OF AFFIRMANT/DECLAR 4NT)

PRIVACY ACT STATEMENT: AUTHORITY: 4 U.S.C. 552a(i}. PRINCIPAL PURPOSE(S): This information will be used to verify your identify for purposes of
processing your request under the Privacy Act, or for records requested during litigation or enforcement action involving DHS CRCL. DISCLOSURE: Voluntary: failure to
furnish the requested information may result in no action being taken on your request,

PLEASE RETURN TO: Office for Civil Rights and Civil Liberties, U.S. Department of Homeland Security, Attn: FOIA Office, 2707 Martin
Luther King, Jr. Avenue, SE Mail Stop 0190, Washington, B.C. 20528-0190 or Via Email: erclfoia(@ hq.dhs.gov.

1

Individual submaitling a request under the Privacy Act of [974 must be either “a citizen of the United States or an alien lawfully adenitted for permanent residence,” pursuant
to 5 U.S.C. Section 552a(aX2). Requests will be processed as Freedom of Information Act requests pursuant to 5 U.S.C. Section 552, rather than Privacy Act requests, for
individuals who are not United States citizens or aliens lawfully admitted for permanent residence.
Case 1:24-cv-00990-DFB Document9 Filed 07/17/24 Page 41 of 46

foshua Jones <whiteoak752@gmail.com> Mon, Jul 15, 2024 at 9:26 Al
To: CRCL FOIA <crelfoia@hq.dhs.gov>

| do not Understand as to why you sent me a document with someone else's personal information on it. 1 am requesting my own
information from DHS. My name is not Assad Rutherford, nor have | ever sought information or records pertaining to Assad Rutherford.
Please send me the proper paperwork. These correspondences will be submitted as evidence for court case 1:24-cv-00869. Along with
any PDF information.

Sincerely,
Joshua Anthony Jones

[Quoted text hidden]

SRCL FOIA <crelfoia@hg.dhs.gov> Mon, Jul 15, 2024 at 9:31 Alv
fo: whiteoak752@gmail.com <whiteoak752@qmail.com>

[Quoted text hidden)

Joshua Jones <whiteoak752@gmail.com> Mon, Jul 15, 2024 at 9:50 AN
fo: CRCL FOIA <erclfola@hq.dhs.gov>

Affirmation/Declaration of Joshua Anthony Jones, For Department of Homeland Security.

Sincerely,

Joshua Anthony Jones
[Quoted text hidden!
Case 1:24-cv-00990-DFB Document9 Filed 07/17/24 Page 42 of 46
Office for Civil Rights and Civil Liberties
U.S. Department of Homeland Security
Washington, DC 20528
ae
aa. Homeland
SZ security

AFFIRMATION/DECLARATION
This is to affirm that

(PRINT FULL NAME)
request access to records maintained by the Office for Civil Rights and Civil Liberties which pertain to me. My present address is:

my date of birth is: , and

my piace of birth was: , and

my citizenship status' is

{understand that any knowingly or willfully seeking or obtaining access to records about another person under false pretenses is
punishable by a fine of up to $5,000. I also understand that any applicable fees must be paid by me.

Thereby authorize access to my records.
(PRINT FULL NAMB)
I request that any located and disctosable records be forwarded to the following individual:

at the following address:

(PRINT FULL NAME)

I declare under penalty of perjury under the taws of the United States of America that the foregoing is true and correct, and that I
am the person named above, and I understand that any falsification of this statement is punishable under the provisions of 18
U.S.C. Section 1001 by a fine of not more than $10,000 or by imprisonment of not more than five years or both, and that
requesting or obtaining any record(s) under false pretenses is punishable under the provisions of 5 U.S.C. 552a(i)(3) by a fine of
not more than $5,000.

Executed on

(DATE)

(SIGNATURE OF AFFIRMANT/DECLARANT)

PRIVACY ACT STATEMENT: AUTHORITY: 5 U.S.C. 552a(3). PRINCIPAL PURPOSE(S): This information will be used to verify your identify for purposes of
processing your request under the Privacy Act, or for records requested during litigation or enforcement action involving DHS CRCL. DISCLOSURE: Voluntary; failure to
furnish the requested information may result in a0 action bein ig taken on your request.

PLEASE RETURN TO: Office for Civil Rights and Civil Liberties, U.S. Department of Homeland Security, Attn: FOIA Office, 2707 Martin
Luther King, Jr. Avenue, SE Mail Stop 0190, Washington, D.C. 20528-0190 or Via Email: crelfoia@hq.dhs.gov.

1

individual submitting a request under the Privacy Aci of 1974 must be either “a citizen of the United States or an alien jnwfully adnitted for permanent residence,” pursuant
to 5 U.S.C, Section 552u(a)(2). Requests will be processed os Frecdom of Information Act requests pursuant to 5 U.S.C. Section 552, rather han Privacy Act Tequests, for
individuals who are not United States citizens or uliens lawtuily admitted for permanent residence.
Case 1:24-cv-00990-DFB Document9 Filed 07/17/24 Page 43 of 46
Office for Civil Rights and Civil Liberties

T U.S. Department of Homeland Security
ou Washington, DC 20528

ot Aer. Homeland
& conte’ eo Security

‘teal _
x Sub Ere on vvlsd ence

onhy

This is to affirm that

(PRINT FULL NAME)
request access to records maintained by the Office for Civil Rights and Civil Liberties which pertain to me. My present address is:

my date of birth is: , and

my place of birth was: , and

my citizenship status’ is

L understand that any knowingly or willfully seeking or obtaining access to records about another person under false pretenses is
punishable by a fine of up to $5,000. I also understand that any applicable fees must be paid by me.

I hereby authorize access to my records.
(PRINT FULL NAME)
I request that any located and disclosable records be forwarded to the following individual:

at the following address:
(PRINT FULL NAME)

I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct, and that I
am the person named above, and { understand that any falsification of this statement is punishable under the provisions of 18
U.S.C. Section 1001 by a fine of not more than $10,000 or by imprisonment of not more than five years or both, and that
requesting or obtaining any record(s) under false pretenses is punishable under the provisions of 5 U.S.C. 552a(i)(3) by a fine of
not more than $5,000.

Executed on. 07-15-2024 .
(DATE)

Joshua Anthony Jones
(SIGNATURE OF AFFIRMANT/DECLARANT)

PRIVACY ACT STATEMENT: AUTHORITY: 5 U.S.C. 552a(i). PRINCIPAL PURPOSE(S): This information will be used to verify your ideniify for purposes of
processing your request under the Privacy Act, or for records requested during litigation or enforcement action involving DHS CRCL. DISCLOSURE: Voluntary, failure to
farnish the requested information may result in no action being taken on your request.

PLEASE RETURN TO: Office for Civil Rights and Civil Liberties, U.S. Department of Homeland Security, Attn: FOIA Office, 2707 Martin
Luther King, Jr. Avenue, SE Mail Stop 0190, Washington, D.C. 20528-0190 or Via Email: erclfoia‘@hq.dhs.goy.

1

Individual submitting a request under the Privacy Act of 1974 must be either “a citizen of the United States or an alien lawfully admitted for permanent residence,” pursuant
to 5 U.S.C. Section $52a(a)(2). Requests will be processed as Freedom of Information Act requests pursuant to 5 U.S.C. Section 552, rather than Privacy Act requests, for
individuals who are not United States citizens or aliens lawfully admitted tor permanent residence.
Case 1:24-cv-00990-DFB Document9 Filed 07/17/24 Page 44 of 46

Wi

CRCL FOIA Appeal 2024-CRCL-AP-00015

| message

RCL FOIA <crclfoia@hq.dhs.gov> Mon, Jul 15, 2024 at 11:59 AN
To: whiteoak7 52@qmait.com <whiteoak752@gmail.com>

07/15/2024

Re: 2024-CRCL-AP-00015
2024-CRFO-00328

Dear Joshua Anthony Jones:

This acknowledges your Freedom of Information Act/ Privacy Act request appeal dated July 15, 2024, and
received on July 15, 2024. On behalf of Office of the Chief Administrative Law Judge, United States Coast
Guard, we acknowledge your appeal and are assigning it number 2024-CRCL-AP-00015.

Sincerely,

CRCL FOIA Office
Case 1:24-cv-00990-DFB Document9 Filed 07/17/24 Page 45 of 46

4

>RCL FOIA Appeal 2024-CRCL-AP-00015

message

loshua Jones <whiteoak?752@gmail.com> Mon, Jul 15, 2024 at 12:06 PW
‘o: CRCL FOIA <erclfoia@hgq.dhs.gov>

Thank you for your acknowledgement, assistance, and assessments of this appeal.

Sincerely,
Joshua Anthony Jones

{Guoted text nidden]
Case 1:24-cv-00990-DFB Document9 Filed 07/17/24 Page 46 of 46

BOT IRR OS er nag OR LEB Sonne wey OP LEE SUL

{4 | ~ uate aril, “gaoe Ainp ap tea | 7100001L0000Sd
q 35 T¥NOLLYNHE.LNI ONY OLLSSINCO HOd fale saquieceg ‘gaz |eqe 7] i | | |

At

lcroty abereed ool eIpayos of GSYNsNI = Gayovi

Coe)
f
‘6H asd Y | 05)
oor JHDISM ANY @ SLY

HAAG WARS SD ~ FE LY ‘OL AdQO1SANS ALVY LV’

yeu, Lt wn “@BBI8A0d Jo SuOHEYUY PUB AyNqeHeNE 105 woo'sdsn‘edysrohay ye jENUEW FEY [BUC}EWeU)

unset aU) aa SUOISn|OXe swuIEO SupueBel simap seg ‘tle Ueno ens dauloeop Se

#1 Qyayorau lis. vidas 2) 19 ‘PRINS, s} WO} LOWeJBJOep sWaysNO B ‘AjeLIOEULEIU pesn ual

SUC vor ay PYSOC wou ax SOUBINSU /PUOHEUepU! PEL

Rinosaaangeme aco . “-suOReURSEp FeuoHeuiequ! Aue pue oAsawOp 10) papnjout soues ,Huyoed! Sg
1IVIN *S31AUTS THSOd Bram idee suopomisey) eauemsul 40 99 1$ epnjou squswidiys onsouL

eALIYOIUd SaLIVES GALINA ‘OSN SSS JO} payioeds ayep (UeAyap peiad

[| mous [sce aust dA ttle exe! °SOIAUIS TVLSOd m
| | k SALVIS GALINN bas

rl -O8¢10LSe0ecy ‘

oZ'tl$ Old)

ov iD FI am

